                              Case 20-19246      Doc 5     Filed 10/15/20      Page 1 of 1
Entered: October 15th, 2020
Signed: October 15th, 2020

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Greenbelt
                                   In re:   Case No.: 20−19246 − TJC        Chapter: 13

Iesha K Brewster−Young
Debtor

                    ORDER ON APPLICATION TO PAY IN INSTALLMENTS AND
                          DIRECTING DEBTOR TO PAY FILING FEE
In review of the Court's records, it is found that the debtor has previously filed a case and the Court granted an
application to pay the filing fee in installments. It is further found that the previous case was dismissed prior to the
debtor having completed the payment of the full fee. Accordingly, pursuant to Federal Rule of Bankruptcy Procedure
1006(b)(2);

IT IS ORDERED that the debtor shall pay the filing fee of the above captioned case in full within fourteen (14) days
of the date of this order.

IT IS FURTHER ORDERED that until the filing fee is paid in full the debtor shall not pay any money for services in
connection with this case, and the debtor shall not relinquish any property as payment for services in connection with
this case.

NOTE: Pursuant to Local Bankruptcy Rule 1006−1(a), the Clerk will only accept payment from the Debtor in the
      form of cash, cashier's check, certified check, negotiable money order, or a check drawn on the account of
      the Debtor's attorney of record. Payments should be made payable to Clerk, U.S. Bankruptcy Court.

cc:    Debtor
       Attorney for Debtor − PRO SE
       Case Trustee − Rebecca A. Herr

                                                   End of Order
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